                           Case: 1:21-cv-00027 Document #: 1 Filed: 01/04/21 Page 1 of 6 PageID #:1




                                                   IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                             EASTERN DIVISION

                            EKEMINI ROWE,                                  )
                                                                           )
                                                   Plaintiff,              )       Case No.: 1:21-cv-27
                                                                           )
                                   v.                                      )
                                                                           )
                            MEDLINE INDUSTRIES, INC.,                      )
                                                                           )
                                                   Defendant.              )       JURY DEMANDED

                                                                      COMPLAINT

                                   NOW COMES Plaintiff, EKEMINI ROWE, by and through her attorneys, the Law

                            Offices of GOLDMAN & EHRLICH, CHTD., and as her Complaint against Defendant,

                            MEDLINE INDUSTRIES, INC., states as follows:

                                                                NATURE OF THE ACTION

                                   This is an action for violations of 42 U.S.C. § 1981.

                                                  JURISDICTION, VENUE AND JURY DEMANDS

                                   1.      Plaintiff invokes the jurisdiction of this Court pursuant to 42 U.S.C. § 1981 and

                            28 U.S.C.A. § 1331.

                                   2.      Venue is proper in the Northern District of Illinois, Eastern Division as the

                            alleged acts occurred herein.
      LAW OFFICES
GOLDMAN & EHRLICH                  3.      Plaintiff demands a trial by jury.
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 CHICAGO, ILLINOIS 60603
      (312)332-6733
                                                                     THE PARTIES
     __      ___

   ARDC No. 6317657
                                   4.      Plaintiff, EKEMINI ROWE, is a resident of Illinois.

                                   5.      Defendant, MEDLINE INDUSTRIES, INC. (“Medline”), is a corporation

                            organized under the laws of the state of Illinois.

                                                                               1
                           Case: 1:21-cv-00027 Document #: 1 Filed: 01/04/21 Page 2 of 6 PageID #:2




                                                             GENERAL ALLEGATIONS

                                   6.      Plaintiff began working for Defendant in or around February, 2015. Most

                            recently, she worked as a “Return Goods Analyst.” Plaintiff reported to Keith Daley (“Daley”),

                            Director of Returns Goods and Cash Applications in Medline’s Finance Department.

                                   7.      Following a holiday party in December, 2016, Daley sexually assaulted Plaintiff

                            by kissing her by force.

                                   8.      Throughout the course of 2017, Daley continued to harass Plaintiff. He offered

                            to do favors for her—such as offering to upgrade to her position and co-sign her apartment

                            lease—but she continued to reject his advances. Daley would also contact and harass Plaintiff

                            via social media, and make sexual comments about her to her, with specific references to his

                            assault of her in 2016.

                                   9.      In retaliation, Daley made Plaintiff’s job more difficult, with the help of

                            Plaintiff’s supervisor, Denise Sanchez (“Sanchez”). For example, Sanchez refused to allow

                            Plaintiff access to certain data that Plaintiff used to assess and maximize her productivity.

                                   10.     Daley continued to harass Plaintiff through the fall of 2017, such as by going to

                            her cubicle and tampering with, and even breaking her personal possessions. The Plaintiff

                            demanded Daley to pay for the item that was destroyed, a women’s purse.

                                   11.     On October 3, 2017, a couple of weeks after Daley destroyed Plaintiff’s purse,
      LAW OFFICES
GOLDMAN & EHRLICH           Sanchez stated to Plaintiff via email that Plaintiff was coming into work late, even though
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                            Plaintiff was following the same work schedule that she had always followed. On November 2,
     __      ___

   ARDC No. 6317657
                            2017, Sanchez wrote Plaintiff up for the same alleged tardiness issue even though Plaintiff, like

                            others in her department, received flexibility on her start and finish time on the condition that

                            she worked her requisite work hours (a condition she was satisfying). Other employees were

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                           Case: 1:21-cv-00027 Document #: 1 Filed: 01/04/21 Page 3 of 6 PageID #:3




                            allowed to come into work and receive the same flexibility on their start and finish time on a

                            regular basis, with one individual actually joking about her own tardiness.

                                    12.     As the harassment by Daley and Sanchez continued, Plaintiff contacted

                            Defendant’s Human Resources Department (“HR”), and reported the harassment in detail to the

                            VP of HR, Rebecca (“Becky”) Giselle (“Giselle”) and HR Manager for Finance, Reed Benedict

                            (“Benedict”).

                                    13.     The following day, Sanchez walked passed Plaintiff’s cubicle (appearing to be

                            coming from HR), called Plaintiff a “whore”, and walked by. Plaintiff reported this incident to

                            HR.

                                    14.     Benedict continued to ask Plaintiff for details regarding Daley’s harassment, and

                            Plaintiff provided them to him.

                                    15.     On December 12, 2017, Plaintiff overheard the Senior Vice President of

                            Finance, Daniel O’Keefe (“O’Keefe”), openly discussing Plaintiff’s situation with another

                            employee. Upon noticing Plaintiff’s presence, O’Keefe called Plaintiff “stupid” and walked

                            away. The following day, O’Keefe walked passed Plaintiff’s cubicle, and remarked to another

                            employee, “that’s the one we call ‘the whore.’”

                                    16.     On or about December 18, 2017, Sarah Smigel (“Smigel”), the Director of

                            Payroll and Cash Applications summoned Plaintiff to her office and told her that she needed to

                            “watch [her] back.” This Director told Plaintiff that there was a lot of tension in the department,
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                            in particular the Cash Applications department, due to the termination of Keith Daley and they
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   ARDC No. 6317657
                            did not like Plaintiff.




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                           Case: 1:21-cv-00027 Document #: 1 Filed: 01/04/21 Page 4 of 6 PageID #:4




                                   17.    As Plaintiff’s work environment became intolerable, she began to look for a new

                            position. She found a position that offered less compensation than what she was making, but

                            accepted that position and provided Defendant with a five-week resignation notice.

                                   18.    Plaintiff’s notice notwithstanding, Sanchez continued her harassment. Smigel

                            also contributed in harassing Plaintiff after Plaintiff issued her resignation notice. On January

                            10, 2018, Smigel walked passed Plaintiff’s cubical and said “whore” three consecutive times.

                            During an exit interview, Plaintiff disclosed the harassment she had faced and Smigel and

                            O’Keefe’s insults. When Plaintiff offered to show documents to validate her statements,

                            Benedict refused to review them. Benedict also failed to explain why O’Keefe was provided

                            with so many details regarding Plaintiff’s complaints.

                                   19.    The day after the exit interview, Defendant offered Plaintiff two weeks of paid

                            leave without Plaintiff needing to come in. Plaintiff explained that taking the early paid leave

                            option would force her to forfeit receiving pay for her 2018 vacation time. Plaintiff did not see

                            Defendant’s offer as a fair deal and refused it. As the result, Plaintiff was stripped of the

                            opportunity to train her replacement as originally planned, and was subjected to even more

                            harassment. On January 24, 2018, Smigel walked passed Plaintiff in a rage as Plaintiff sat in

                            her cubicle. Then Smigel walked over to nearby Cash Applications representatives seated

                            nearby and bellowed “get her out of here” while pointing to Plaintiff.
      LAW OFFICES
GOLDMAN & EHRLICH                  20.    When white employees of Defendant complained about sexual harassment by a
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                            white male and a former director of Receivable Services, they were not harassed or
     __      ___

   ARDC No. 6317657
                            constructively discharged. When Plaintiff, a black female, made complaints about white

                            employees, the accused were not terminated in the same fashion that Daley was without an




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                           Case: 1:21-cv-00027 Document #: 1 Filed: 01/04/21 Page 5 of 6 PageID #:5




                            opportunity to improve. And on information and belief, Sanchez and O’Keefe also have not

                            faced any discipline for their role in harassing and terminating Plaintiff.

                                                                COUNT I –
                                                    DISCRIMINATION UNDER 42 U.S.C. § 1981

                                   21.     Throughout her employment, Plaintiff was subjected to different terms and

                            conditions due to her race, including but not limited to harassment and having her employment

                            terminated for complaining about sexual harassment.

                                   22.     But for Plaintiff’s race, she would not have been subjected to the discriminatory

                            actions described in this complaint.

                                   23.     Defendant’s actions constitute a violation of 42 U.S.C. § 1981.

                                   24.     Defendant’s actions have caused Plaintiff lost wages and other employment

                            benefits, and significant emotional distress.

                                   25.     At all relevant times, Defendant’s actions were willful and wanton, entitling

                            Plaintiff to an award of punitive damages.

                                                                COUNT II –
                                                      RETALIATION UNDER 42 U.S.C. § 1981

                                   26.     Plaintiff realleges and incorporates ¶¶ 1-25 of Count I as ¶ 26 of Count II.

                                   27.     Plaintiff complained about discrimination in the work place to Defendant.

                                   28.     In retaliation, Defendant constructively discharged her employment.
      LAW OFFICES
GOLDMAN & EHRLICH                  29.     But for Plaintiff’s complaints about discrimination, she would not have been
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                            terminated.
     __      ___

   ARDC No. 6317657
                                   30.     Defendant’s actions constitute a violation of 42 U.S.C. § 1981.

                                   31.     Defendant’s actions have caused Plaintiff lost wages and other employment

                            benefits, and significant emotional distress.

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                           Case: 1:21-cv-00027 Document #: 1 Filed: 01/04/21 Page 6 of 6 PageID #:6




                                   32.    At all relevant times, Defendant’s actions were willful and wanton, entitling

                            Plaintiff to an award of punitive damages.

                                   WHEREFORE, Plaintiff requests that this Court enter a judgment in favor of Plaintiff

                            and against Defendant, and that Plaintiff be awarded the following relief:

                                   A.      Backpay, prejudgment interest, and remedy for any negative tax consequences

                                           from an award of a lump sum payment;

                                   B.      Compensatory damages;

                                   C.      Punitive Damages;

                                   D.      Attorney Fees and Costs; and

                                   E.      Such other and further relief as this court deems appropriate.



                            Dated: January 4, 2021                         Respectfully submitted,

                                                                                             /s/ Sam Sedaei
                                                                           Sam Sedaei of the Law Offices of Goldman &
                                                                           Ehrlich, Chtd., as attorney for Plaintiff
                                                                           EKEMINI ROWE

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